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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                                                                  CASE NO.: 14-27135-BKC-AJC
                                                               PROCEEDING UNDER CHAPTER 13

IN RE:

CARMEN N ROJAS

_____________________________/
DEBTOR

CHAPTER 13 TRUSTEE'S NOTICE OF PLAN COMPLETION AND IF APPLICABLE REQUEST
      FOR ORDER TERMINATING THE EMPLOYEE WAGE DEDUCTION ORDER

   COMES NOW, Nancy K. Neidich, Chapter 13 Trustee in the above-styled action and files this Notice
of Plan Completion and Request for Order Terminating the Employee Wage Deduction Order, and
respectfully shows the Court as follows:

    The Chapter 13 Trustee has verified the Debtor in the above-referenced Chapter 13 case has
completed payments under the confirmed plan. The Chapter 13 Trustee respectfully requests that this
Court enter an order terminating the Employee Wage Deduction Order, if applicable. The Chapter 13
Trustee's Final Report of Estate will be submitted as soon as practicable after all payments made to
creditors have been negotiated and no outstanding disbursements remain. This case will remain open
pending receipt of the Chapter 13 Trustee's Final Report of Estate. Upon submission, an order
discharging the Chapter 13 Trustee will be entered in this case.


Debtor must complete and file a Certificate of Compliance, Motion for Issuance of Discharge and
Notice of Deadline to Object (LF-97) or no discharge of debtor will be issued in this case.

   RESPECTFULLY SUBMITTED this 30th day of October, 2017.

                                                      /s/ Nancy K. Neidich
                                                     _____________________________________
                                                      NANCY K. NEIDICH, ESQUIRE
                                                      STANDING CHAPTER 13 TRUSTEE
                                                      P.O. BOX 279806
                                                      MIRAMAR, FL 33027-9806
